DC 11 Case     9:19-mc-80024-DMM
      (Rev. 11/2002) Writ of Execution   Document 4 Entered on FLSD Docket 02/26/2019 Page 1 of 1

                                              WRIT OF EXECUTION
                                                              DISTRICT
        U NITED S TATES D ISTRICT C OURT                                         Southern District of Florida
TO THE MARSHAL OF:
                      U.S. MARSHALS SERVICE SOUTHERN DISTRICT OF FLORIDA


YOU ARE HEREBY COMMANDED, that of the goods and chattels, lands and tenements in your district belonging to:
NAME
 Lev Parnas and Parnas Holdings, Inc. 7670 La Corniche Circle Boca Raton, FL 33433, in the matter of Pues Family
 Trust IRA, Michael Pues Excecutor v. Parnas Holdings, Inc., and Lev Parnas Individually, Case Number 11-CV-05537
 United States District Court for the Eastern District of New York, with the final judgment registered in the Southern
 District of Florida Case Number 19-MC-80024-DMM.

you cause to be made and levied as well a certain debt of:
DOLLAR AMOUNT                                                 DOLLAR AMOUNT

   Five Hundred Ten Thousand Four Hundred Thirty-              Seventy Cents
   Four Dollars                                         and



                                           Southern                                    Florida
in the United States District Court for the                             District of                                  ,
before the Judge of the said Court by the consideration of the same Judge lately recovered against the said,




and also the costs that may accrue under this writ.
        And that you have above listed moneys at the place and date listed below; and that you bring this writ with you.

PLACE   U.S Marshals Service                                  DISTRICT
                                                                          Southern District of Florida
CITY    West Palm Beach                                       DATE    January 8, 2019

 Witness the Honorable       Donald M. Middlebrooks
                                                               (United States Judge)

DATE                             CLERK OF COURT



       Feb 26, 2019              (BY) DEPUTY CLERK

                                                     s/ Doris Jones
                                                       RETURN
DATE RECEIVED                                                 DATE OF EXECUTION OF WRIT




This writ was received and executed.
U.S. MARSHAL                                                  (BY) DEPUTY MARSHAL
